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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                 TEXARKANA DIVISION

 LISA TORREY, et al.,

                  Plaintiffs,

         v.                                         Civil Action No. 5:17-cv-00190-RWS

 INFECTIOUS DISEASES SOCIETY OF
 AMERICA, et al.,

                  Defendants.

    .                                      ORDER

        Before the Court is Plaintiffs’ and Defendant Blue Cross and Blue Shield Association’s

Joint Motion to Extend Stay of All Deadlines. Docket No. 390. Having considered the motion,

and because it is jointly made, the Court is of the opinion that the motion should be GRANTED.

It is therefore

        ORDERED that the stay of all existing deadlines between the Parties set forth in the

Court’s Amended Docket Control Order (Dkt. 309) be extended until and including April 24, 2021.


        So ORDERED and SIGNED this 25th day of March, 2021.




                                                       ____________________________________
                                                       ROBERT W. SCHROEDER III
                                                       UNITED STATES DISTRICT JUDGE
